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1    DANIEL J. BRODERICK, #89424
     Acting Federal Defender
2    CARO MARKS, Bar #159267
     Assistant Federal Defender
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
6
     Attorney for Defendant
7    TREVOR HUTCHISON
8
9
                         IN THE UNITED STATES DISTRICT COURT
10
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
13
     UNITED STATES OF AMERICA,       )      No. Cr-S-03-097 FCD
14                                   )
                    Plaintiff,       )
15                                   )      REQUEST FOR ORDER AND ORDER
          v.                         )      RETURNING PASSPORT TO THE
16                                   )      DEFENDANT
     TREVOR HUTCHISON,               )
17                                   )
                    Defendant.       )
18                                   )      Judge: Hon. Frank C. Damrell
     _______________________________ )
19
20
          On or about April 8, 2003, an original passport of the above
21
     referenced defendant was deposited in the Clerks Office of the Eastern
22
     District of California, number 075574422, Receipt # 205 4386.
23
          On or about November 21, 2005, Mr. Hutchison was sentenced to 12
24
     months probation.
25
          It is hereby requested that the defendant’s passport be released
26
     to the defendant, Trevor Hutchison, and that the Clerk of the Court be
27
     directed to return the passport to the defendant which was received by
28
              Case 2:03-cr-00097-FCD Document 190 Filed 03/16/06 Page 2 of 2


1    the Clerk on or about April 8, 2003.           The passport given to the Federal
2    Defenders Office who will forward it on to Mr. Hutchison.
3
4    Dated:     March 16, 2006
                                               Respectfully submitted,
5
                                               DANIEL J. BRODERICK
6                                              Acting Federal Defender
7
8                                                 /s/ Caro Marks
                                               CARO MARKS
9                                              Assistant Federal Defender
                                               Attorney for Defendant
10                                             TREVOR HUTCHISON
11
12                                         O R D E R
13        IT IS HEREBY ORDERED that the original passport of Trevor
14   Hutchison be returned by the Clerk of the District Court to the Federal
15   Public Defenders Office at 801 I Street, 3rd Floor, Sacramento,
16   California, to the attention of CARO MARKS, Assistant Federal Defender,
17   who will return the passport to defendant, Trevor Hutchison.
18   Dated: March 16, 2006
19                                             /s/ Frank C. Damrell Jr.
                                               FRANK C. DAMRELL JR.
20                                             US District Judge
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